UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 -   -   -   -   -       -   -    -   -   -   -   -   -    -   -   -   X


UNITED STATES OF AMERICA                                                   SEALED
                                                                           SUPERSEDING
                     -       V.   -                                        INDICTMENT

LAWRENCE RAY,                                                              81 20 Cr. 110
   a/k/a "Lawrence Grecco," and
ISABELLA POLLOK,

                         Defendants.

                                                                       X




                                                      COUNT ONE
                                              (Racketeering Conspiracy)

                         The Grand Jury charges:

                                                          The Enterprise

                     1.           At all times relevant to this Indictment,

LAWRENCE RAY, a/k/a "Lawrence Grecco," and ISABELLA POLLOK, the

defendants, and others known and unknown, were members and

associates of a criminal organization (the "Enterprise") whose

members engaged in, among other things, extortion, sex

trafficking, forced labor, money laundering, and obstruction of

justice.

                     2.           The Enterprise, including its leadership,

membership, and associates, constituted an "enterprise," as

defined by Title 18, United States Code, Section 1961(4), that

is, a group of individuals associated in fact, although not a

legal entity.                     The Enterprise constituted an ongoing
organization whose members functioned as a continuing unit for a

common purpose of achieving the objectives of the Enterprise.

At all times relevant to this Indictment, the Enterprise was

engaged in, and its activities affected, interstate and foreign

commerce.    The Enterprise operated in the Southern District of

New York and elsewhere.

            3.    LAWRENCE RAY, a/k/a "Lawrence Grecco," and

ISABELLA POLLOK, the defendants, participated in the operation

of the Enterprise, and participated in unlawful and other

activities in furtherance of the conduct of the Enterprise's

affairs.

            4.    LAWRENCE RAY, a/k/a "Lawrence Grecco," the

defendant, was the founder and leader of the Enterprise. During

the time period relevant to this Indictment, RAY led the

Enterprise and targeted a group of college students and others

(the "Victims") for indoctrination and criminal exploitation by

the Enterprise.     RAY recruited ISABELLA POLLOK, the defendant,

and others, known and unknown, to join the criminal scheme and

to work on behalf of the Enterprise.

            5.    During the time period relevant to this

Indictment, LAWRENCE RAY, a/k/a "Lawrence Grecco," and ISABELLA

POLLOK, the defendants, lived with some of the Victims, first in

on-campus housing at a college in Westchester County, New York,


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and thereafter at locations in Manhattan, New York; Pinehurst,

North Carolina; Piscataway, New Jersey; and elsewhere.     Over the

course of approximately a decade, between in or about 2010 and

in or about 2020, RAY, POLLOK, and others known and unknown,

attempted to gain the trust of the Victims before

psychologically manipulating and controlling them for the

success and furtherance of the Enterprise's ideology and the

financial gain of its members.     RAY, POLLOK, and others known

and unknown, exploited the Victims for the Enterprise's

financial gain.     RAY, with the assistance of POLLOK and others,

subjected the Victims to sexual and psychological manipulation

and physical abuse in order, among other things, to extract

false confessions from the Victims that they had caused harm and

damage to members and associates of the Enterprise, including by

poisoning RAY, POLLOK, and others.     RAY and POLLOK, and others

known and unknown, leveraged the Victims' false confessions to

extort money from the Victims, to force some of the Victims to

perform unpaid manual labor, and to cause one of the female

Victims ("Female Victim-1") to engage in commercial sex acts for

the Enterprise's financial benefit.

                      Purposes of the Enterprise

             6.   The purposes of the Enterprise included the

following:


                                   3
               a.      Enriching the members and associates of the

Enterprise through, among other things,    (1) extortion,   (2) sex

trafficking, and (3) forced labor;

               b.      Preserving and protecting the power of the

Enterprise, including the power of its leader, LAWRENCE RAY,

a/k/a "Lawrence Grecco," the defendant, through violence,

threats of violence, and verbal, physical, and mental abuse.

               c.      Promoting and enhancing the Enterprise and

the activities of its members and associates;

               d.      Protecting the Enterprise and its members

and associates from detection and prosecution by law enforcement

authorities through acts of . intimidation and violence and with

threats of retaliation against individuals who witnessed the

crimes committed by members and associates of the Enterprise.

               Means and Methods of the Enterprise

          7.   Among the means and methods by which LAWRENCE

RAY, a/k/a "Lawrence Grecco," and ISABELLA POLLOK, the

defendants, and others known and unknown, conducted and

participated in the conduct of the affairs of the Enterprise

were the following:

               a.      Nurturing the Victims' loyalty to the

members and associates of the Enterprise and alienating them

from their families;


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               b.   Subjecting the Victims to sexual and

psychological manipulation;

               c.   Physically abusing the Victims, including

through acts of violence, threats of violence, food deprivation,

and sleep deprivation;

               d.   Extracting false confessions from the

Victims that they had caused harm and damage to members and

associates of the Enterprise, such as RAY and POLLOK, including

by false confessions that the Victims had poisoned RAY, POLLOK,

and others;

               e.   Documenting and retaining Victims' false

confessions, including through video and journals kept by

Victims at RAY's direction;

               f.   Leveraging the Victims' false confessions to

extort money from the Victims, to force some of the Victims to

perform unpaid manual labor, and to cause one of the female

Victims ("Female Victim-1") to engage in commercial sex acts for

the Enterprise's financial benefit in New York City and

elsewhere;

               g.   Collecting sensitive, humiliating, and

incriminating material against the Victims to further the

purposes of the Enterprise, including the continued obedience of

the Victims, the enrichment of the Enterprise, and evasion of


                                5
detection by law enforcement;

               h.      Threatening to turn the Victims in to law

enforcement in light of their false confessions, which threats

were made to further the purposes of the Enterprise, including

the continued obedience of the Victims, the enrichment of the

Enterprise, and evasion of detection by law enforcement;

               i.      Pressuring Female Victim-1, through force,

threats of force,   fraud, and coercion, to engage in frequent

prostitution and collecting nearly all the proceeds of that

prostitution, amounting to millions of dollars in profits for

the Enterprise; and

               j.      Laundering the proceeds of the Enterprise's

criminal activity through various bank accounts and RAY's online

domain business.

                      The Racketeering Conspiracy

          8.   From at least in or around 2010, up to and

including in or around 2020, in the Southern District of New

York and elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco," and

ISABELLA POLLOK, the defendants, and others known and unknown,

being persons employed by and associated with the Enterprise

described in Paragraphs One through Seven of this Indictment,

knowingly combined, conspired, confederated, and agreed together

and with each other to violate the racketeering laws of the


                                   6
United States, to wit, Section 1962(c) of Title 18, United

States Code, that is, to conduct and participate, directly and

indirectly, in the conduct of the affairs of the Enterprise,

which was engaged in, and the activities of which affected,

interstate and foreign commerce, through a pattern of

racketeering activity, as defined in Title 18, United States

Code, Sections 1961(1) and (5), consisting of multiple acts:

                 a.    indictable under Title 18, United States

Code, Sections 1951 and 2 (relating to extortion);

                 b.    involving extortion, chargeable under the

following provisions of state law, namely, New York Penal Law

Sections 155. 05 (2) (e), 155. 40 (2)       (grand larceny in the second

degree by extortion); 155.30(6)         (grand larceny in the fourth

degree by extortion); 105.10 (conspiracy in the fourth degree);

110.00 (attempt to commit a crime); and 20.00 (accessory

liability) ;

                 c.    indictable under Title 18, United States

Code, sections l59l and 2 (sex trafficking by force,           fraud, or

coercion);

                 d.    indictable under Title 18, United States

Code, Sections 1589 and 2 (forced labor);

                 e.    indictable under Title 18, United States

Code, Sections 1590 and 2 (forced labor trafficking);


                                        7
                  f.   indictable under Title 18, United States

Code, Sections 1952 and 2 (use of interstate commerce to promote

unlawful activity);

                  g.   indictable under Title 18, United States

Code, Sections 1956 and 2 (relating to the laundering of

monetary instruments);

                  h.   indictable under Title 18, United States

Code, Sections 1512 and 2 (relating to tampering with a witness,

victim, or an informant); and

                  i.   indictable under Title 18, United States

Code, Sections 1503 and 2 (relating to obstruction of justice)

          9.      It was a part of the conspiracy that each

defendant agreed that a conspirator would commit at least two

acts of racketeering activity in the conduct of the affairs of

the Enterprise.

                  NOTICE OF SPECIAL SENTENCING FACTOR

          10.      As part of their agreement to conduct and

participate in the conduct of the affairs of the Enterprise

through a pattern of racketeering activity, LAWRENCE RAY, a/k/a

"Lawrence Grecco," and ISABELLA POLLOK, the defendants, and

others known and unknown, agreed that multiple acts indictable

under Title 18, United States Code, Section 1591(a) and (b) (1)

would be committed, to wit, a conspirator would, in or affecting


                                   8
interstate commerce, recruit, entice, harbor, transport,

provide, obtain, advertise, maintain, patronize, and solicit, by

any means, persons, and would benefit, financially and by

receiving anything of value, from participation in a venture

which has engaged in any such act, knowing and in reckless

disregard of the fact that means of force, threats of force,

fraud, and coercion, and any combination of such means, would be

used to cause the persons to engage in commercial sex acts, in

violation of Title 18, United States Code, Sections 1591(a) and

(b) ( 1) .

             (Title 18, United States Code, Section 1962(d) .)

                                 COUNT TWO
                           (Extortion Conspiracy)

              The Grand Jury further charges:

              11.   From in or about 201 1 , up to and including at

least in or about 2019, in the Southern District of New York and

elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco," and ISABELLA

POLLOK, the defendants, and others known and unknown, knowingly

did combine, conspire, confederate, and agree together and with

each other to commit extortion, as that term is defined in Title

18, United States Code, Section 1951(b) (2), by obtaining money

and property from and with the consent of another person, which

consent would have been and was induced by the wrongful use of

actual and threatened force, violence, and fear, and would and
                                     9
did thereby obstruct, delay, and affect commerce and the

movement of articles and commodities in commerce, as that term

is defined in Title 18, United States Code, Section 1951(b) (3),

to wit, RAY and POLLOK agreed to extort money from the Victims

to repay supposed wrongdoing against RAY and others.

           (Title 18, United States Code, Section 1951.)

                            COUNT THREE
                            (Extortion)

          The Grand Jury further charges:

          12.   From in or about 2011, up to and including at

least in or about 2019, in the Southern District of New York and

elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant,

knowingly did commit extortion, as that term is defined in Title

18, United States Code, Section 1951(b) (2), by obtaining money

and property from and with the consent of another person, which

consent would have been and was induced by the wrongful use of

actual and threatened force, violence, and fear, and would and

did thereby obstruct, delay, and affect commerce and the

movement of articles and commodities in commerce, as that term

is defined in Title 18, United States Code, Section 1951 (b) (3),

and aided and abetted the same, to wit, RAY extorted money from

Female Victim-1 to repay supposed wrongdoing against RAY and




                                10
others.

          (Title 18, United States Code, Sections 1951 and 2.)

                                 COUNT FOUR
                             (Sex Trafficking}

             The Grand Jury further charges:

             13.    From in or about 2011, up to and including at

least in or about 2019, in the Southern District of New York and

elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant,

knowingly, in and affecting interstate and foreign commerce, did

recruit, entice, harbor, transport, provide, obtain, advertise,

maintain, patronize, and solicit, by any means a person, and did

benefit, financially and by receiving anything of value, from

participation in a venture which had engaged in such acts,

knowing and in reckless disregard of the fact that force,

threats of force,      fraud, and coercion, as described in Title 18,

United States Code, Section 1591(e) (2), and any combination of

such means, would be used to cause the person to engage in a

commercial sex act, and aided and abetted the same, to wit, RAY

engaged in the sex trafficking of Female Victim-1.

          (Title 18, United States Code, Sections 1591 and 2.)

                                 COUNT FIVE
                   (Conspiracy to Commit Sex Trafficking)

             The Grand Jury further charges:

             14.    From in or about 2011, up to and including at


                                     11
least in or about 2019, in the Southern District of New York and

elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco," and ISABELLA

POLLOK, the defendants, and others known and unknown, knowingly,

in and affecting interstate and foreign commerce, did combine,

conspire, confederate and agree to recruit, entice, harbor,

transport, provide, obtain, advertise, maintain, patronize, and

solicit, by any means, a person, and to benefit, financially and

by receiving anything of value, from participation in a venture

which has engaged in any such act, knowing and in reckless

disregard of the fact that means of force,   threats of force,

fraud, and coercion, and any combination of such means, would be

used to cause the person to engage in a commercial sex act, in

violation of Title 18, United States Code, Section 159l(a) and

(b) (1), to wit, RAY and POLLOK, agreed to engage in the sex

trafficking of Female Victim-1.

          (Title 18, United States Code, Section 1594.)

                             COUNT SIX
                          ( Forced Labor)

          The Grand Jury further charges:

          15.   From at least in or about May 2013, up to and

including at least in or about December 2013, in the Southern

District of New York and elsewhere, LAWRENCE RAY, a/k/a

"Lawrence Grecco," the defendant, knowingly did obtain the labor

and services of a person by means of (a) force,   threats of
                                  12
force, physical restraint and threats of physical restraint to

her and one or more other persons,   (b) serious harm and threats

of serious harm to her and one or more other persons,   (c) the

abuse and threatened abuse of law and legal process, and (d) one

or more schemes, plans and patterns intended to cause her to

believe that, if she did not perform such labor and services,

she and one or more other persons would suffer serious harm and

physical restraint, and a combination of such means, and aided

and abetted the same, to wit, RAY caused several female Victims

to perform physical labor on a property in Pinehurst, North

Carolina by among other things, physically harming, threatening,

and intimidating the Victims, threatening legal action against

them, and convincing those Victims that if they did not perform

the labor, those Victims and others would suffer serious harm.

      (Title 18, United States Code, Sections 1589 and 2.)

                            COUNT SEVEN
                    (Forced Labor Trafficking)

          The Grand Jury further charges:

          16.   From at least in or about May 2013, up to and

including at least in or about December 2013, in the Southern

District of New York and elsewhere, LAWRENCE RAY, a/k/a

"Lawrence Grecco," the defendant, knowingly did recruit, harbor,

transport, provide, and obtain by any means, persons for labor

and services in violation of Title 18, United States Code,
                                13
Section 1589(a), and aided and abetted the same, to wit, RAY

convinced and caused several female Victims to travel from

Manhattan, New York to Pinehurst, North Carolina in order to

obtain their physical labor in violation of Title 18, United

States Code, Section 1589(a).

       (Title 18, United States Code, Sections 1590 and 2.)

                            COUNT EIGHT
                     (Forced Labor Conspiracy)

          The Grand Jury further charges:

          17.   From at least in or about May 2013, up to and

including at least in or about December 2013, in the Southern

District of New York and elsewhere, LAWRENCE RAY, a/k/a

"Lawrence Grecco," the defendant, and others known and unknown,

knowingly did combine, conspire, confederate, and agree together

and with each other to provide and obtain the labor and services

of one and more persons, by means of (a) force,   threats of

force, physical restraint and threats of physical restraint to

her and one or more other persons,   (b) serious harm and threats

of serious harm to her and one or more other persons,   (c) the

abuse and threatened abuse of law and legal process, and (d) one

or more schemes, plans and patterns intended to cause her to

believe that, if she did not perform such labor and services,

she and one or more other persons would suffer serious harm and

physical restraint, and a combination of such means, in
                                14
violation of Title 18, United States Code, Section 1589(a), to

wit, RAY agreed with others to obtain the physical labor of

several female Victims on a property in Pinehurst, North

Carolina, as described in Count Six of this Indictment and in

violation of Title 18, United States Code, Section 1589(a)

          (Title 18, United States Code, Section 1594.)

                           COUNT NINE
    (Use of Interstate Commerce To Promote Unlawful Activity)

          The Grand Jury further charges:

          18.   From at least in or about 2014, up to and

including at least in or about 2019, in the Southern District of

New York and elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco,"

the defendant, did use and cause to be used facilities in

interstate and foreign commerce, with the intent to promote,

manage, establish, carry on, and facilitate the promotion ,

management, establishment, and carrying on of an unlawful

activity, namely a business enterprise involving prostitution,

and thereafter performed and attempted to perform an act to

promote, manage, establish and carry on, and to facilitate the

promotion, management, establishment, and carrying on of that

unlawful activity, and aided and abetted the same, to wit, RAY

used a cellular phone and the Internet, and traveled in

interstate commerce, to promote, manage, and carry on a criminal

business engaged in sex trafficking and prostitution, and
                                15
promoting prostitution, in violation of New York Penal Law

Sections 230.00, 230.20, 230.25, 230.30, and 230.32.

  (Title 18, United States Code, Sections 1952 (a) ( 3) (B) and 2.)

                           COUNT TEN
    (Use of Interstate Commerce To Promote Unlawful Activity)

          The Grand Jury further charges:

          19.   From at least in or about 2011, up to and

including at least in or about 2019, in the Southern District of

New York and elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco,"

the defendant, did use and cause to be used facilities in

interstate and foreign commerce, with the intent to promote,

manage, establish, carry on, and facilitate the promotion,

management, establishment, and carrying on of an unlawful

activity, namely a business enterprise involving extortion, and

thereafter performed and attempted to perform an act to promote,

manage, establish, and carry on, and to facilitate the

promotion, management, establishment, and carrying on of that

unlawful activity, and aided and abetted the same, to wit, RAY

used a cellular phone and the Internet, and traveled in

interstate commerce, to promote, manage, and carry on extortion,

in violation of New York Penal Law Sections 155.30(6) and 20.00.

  (Title 18, United States Code, Sections 1952 (a) (3) (B) and 2.)




                                 16
                             COUNT ELEVEN
                          (Money Laundering)

     The Grand Jury further charges:

          20.   From at least in or about 2011, up to and

including at least in or about 2019, in the Southern District of

New York and elsewhere, LAWRENCE RAY, a/k/a "Lawrence Grecco,"

and ISABELLA POLLOK, the defendants, knowing that the property

involved in certain financial transactions represented the

proceeds of some form of unlawful activity, conducted and

attempted to conduct such financial transactions, which in fact

involved the proceeds of specified unlawful activity, to wit,

(i) extortion, in violation of Title 18, United States Code,

Section 1951; and (ii) sex trafficking, in violation of Title

18, United States Code, Section 1591, knowing that the

transactions were designed in whole and in part to conceal and

disguise the nature, the location, the source, the ownership,

and the control of the proceeds of specified unlawful activity,

and to avoid a transaction reporting requirement under State and

Federal law.

 (Title 18, United States Code, Sections 1956 (a) ( 1) (B) ( i) ,   (ii) ,

                                and 2.)




                                   17
                              COUNT TWELVE
                      (Tax Evasion - 2015 Tax Year)

     The Grand Jury further charges:

           21.    During the calendar year 2015, LAWRENCE RAY,

a/k/a "Lawrence Grecco," the defendant, received substantial

taxable income, upon which there was substantial income tax due

and owing to the United States of America, to wit proceeds of

the offenses charged in Counts One through Five of this

Indictment.      Knowing the foregoing facts and failing to make an

income tax return on or before April 15, 2016, as required by

law, to any proper officer of the Internal Revenue Service, and

to pay the income tax to the Internal Revenue Service, RAY from

in or about January 2015 through on or about April 15, 2016, in

the Southern District of New York and elsewhere, willfully and

knowingly did attempt to evade and defeat a substantial part of

the income tax due and owing by RAY to the United States of

America for calendar year 2015 by various means, including,

among others:     (a) causing nominees to deposit a substantial part

of RAY's unreported income into bank accounts in the nominees'

names,   including at bank branches and ATMs in the Southern

District of New York, and subsequently to transfer the income to

RAY through cash and electronic transfers; and (b) using

unreported income deposited into bank accounts in the nominees'

names to pay for personal expenses, including to purchase
                                   18
numerous domain names for which RAY was the registrant.

          (Title 26, United States Code, Section 7201.)

                            COUNT THIRTEEN
                     (Tax Evasion - 2016 Tax Year)

     The Grand Jury further charges:

          22.    During the calendar year 2016, LAWRENCE RAY,

a/k/a "Lawrence Grecco," the defendant, received substantial

taxable income, upon which there was substantial income tax due

and owing to the United States of America, to wit proceeds of

the offenses charged in Counts One through Five of this

Indictment.     Knowing the foregoing facts and failing to make an

income tax return on or before April 15, 2017, as required by

law, to any proper officer of the Internal Revenue Service, and

to pay the income tax to the Internal Revenue Service, RAY from

in or about January 2016 through on or about April 15, 2017, in

the Southern District of New York and elsewhere, willfully and

knowingly did attempt to evade and defeat a substantial part of

the income tax due and owing by RAY to the United States of

America for calendar year 2016 by various means, including,

among others:    (a) causing nominees to deposit a substantial part

of RAY's unreported income into bank accounts in the nominees'

names, including at bank branches and ATMs in the Southern

District of New York, and subsequently to transfer the income to

RAY through cash and electronic transfers; and (b) using
                                  19
unreported income deposited into bank accounts in the nominees'

names to pay for personal expenses, including to purchase

numerous domain names for which RAY was the registrant.

          (Title 26, United States Code, Section 7201.)

                            COUNT FOURTEEN
                     (Tax Evasion - 2017 Tax Year)

     The Grand Jury further charges:

          23.    During the calendar year 2017, LAWRENCE RAY,

a/k/a "Lawrence Grecco," the defendant, received substantial

taxable income, upon which there was substantial income tax due

and owing to the United States of America, to wit proceeds of

the offenses charged in Counts One through Five of this

Indictment.     Knowing the foregoing facts and failing to make an

income tax return on or before April 15, 2018, as required by

law, to any proper officer of the Internal Revenue Service, and

to pay the income tax to the Internal Revenue Service, RAY from

in or about January 2017 through on or about April 15, 2018, in

the Southern District of New York and elsewhere, willfully and

knowingly did attempt to evade and defeat a substantial part of

the income tax due and owing by RAY to the United States of

America for calendar year 2017 by various means, including,

among others:    (a) causing nominees to deposit a substantial part

of RAY's unreported income into bank accounts in the nominees'

names, including at bank branches and ATMs in the Southern
                                  20
District of New York, and subsequently to transfer the income to

RAY through cash and electronic transfers; and (b) using

unreported income deposited into bank accounts in the nominees'

names to pay for personal expenses, including to purchase

numerous domain names for which RAY was the registrant.

          (Title 26, United States Code, Section 7201.)

                             COUNT FIFTEEN
                     (Tax Evasion - 2018 Tax Year)

     The Grand Jury further charges:

          24.    During the calendar year 2018, LAWRENCE RAY,

a/k/a "Lawrence Grecco," the defendant, received substantial

taxable income, upon which there was substantial income tax due

and owing to the United States of America, to wit proceeds of

the offenses charged in Counts One through Five of this

Indictment.     Knowing the foregoing facts and failing to make an

income tax return on or before April 15, 2019, as required by

law, to any proper officer of the Internal Revenue Service, and

to pay the income tax to the Internal Revenue Service, RAY from

in or about January 2018 through on or about April 15, 2019, in

the Southern District of New York and elsewhere, willfully and

knowingly did attempt to evade and defeat a substantial part of

the income tax due and owing by RAY to the United States of

America for calendar year 2018 by various means, including,

among others:    (a) causing nominees to deposit a substantial part
                                  21
of RAY's unreported income into bank accounts in the nominees'

names, including at bank branches and ATMs in the Southern

District of New York, and subsequently to transfer the income to

RAY through cash and electronic transfers; and (b) using

unreported income deposited into bank accounts in the nominees'

names to pay for personal expenses, including to purchase

numerous domain names for which RAY was the registrant.

          (Title 26, United States Code, Section 7201.)

                             COUNT SIXTEEN
                     (Tax Evasion - 2019 Tax Year)

     The Grand Jury further charges:

          25.    During the calendar year 2019, LAWRENCE RAY,

a/k/a "Lawrence Grecco," the defendant, received substantial

taxable income, upon which there was substantial income tax due

and owing to the United States of America, to wit proceeds of

the offenses charged in Counts One through Five of this

Indictment.     Knowing the foregoing facts and failing to make an

income tax return on or before July 15, 2020, as required by

law, to any proper officer of the Internal Revenue Service, and

to pay the income tax to the Internal Revenue Service, RAY from

in or about January 2019 through on or about July 15, 2020, in

the Southern District of New York and elsewhere, willfully and

knowingly did attempt to evade and defeat a substantial part of

the income tax due and owing by RAY to the United States of
                                  22
America for calendar year 2019 by various means, including,

among others:   (a) causing nominees to deposit a substantial part

of RAY's unreported income into bank accounts in the nominees'

names, including at bank branches and ATMs in the Southern

District of New York, and subsequently to transfer the income to

RAY through cash and electronic transfers; and (b) using

unreported income deposited into bank accounts in the nominees'

names to pay for personal expenses, including to purchase

numerous domain names for which RAY was the registrant.

          (Title 26, United States Code, Section 7201.)

                FORFEITURE ALLEGATION AS TO COUNT ONE

          26.   As a result of committing the offense alleged in

Count One of this Indictment, LAWRENCE RAY, a/k/a "Lawrence

Grecco," and ISABELLA POLLOK, the defendants, shall forfeit to

the United States, pursuant to Title 18, United States Code,

Section 1963, any and all interests the defendant acquired or

maintained in violation of Title 18, United States Code, Section

1962; any and all interests in, securities of, claims against,

and property or contractual rights of any kind affording a

source of influence over, the enterprise named and described

herein which the defendants established, operated, controlled,

conducted, and participated in the conduct of, in violation of

Title 18, United States Code, Section 1962; and any and all


                                 23
property constituting and derived from proceeds obtained,

directly and indirectly, from racketeering activity in violation

of Title 18, United States Code, Section 1962, the offense

alleged in Count One of this Indictment, including but not

limited to a sum of money in United States currency representing

the amount of proceeds traceable to the commission of the

offense alleged in Count One.

         FORFEITURE ALLEGATION AS TO COUNTS TWO AND THREE

            27.   As a result of committing the offenses alleged in

Counts Two and Three of this Indictment, LAWRENCE RAY, a/k/a

"Lawrence Grecco," the defendant, shall forfeit to the United

States, pursuant to Title 18, United States Code, Section

981 (a) (1) (C) and Title 28 United States Code, Section 2461 (c),

any and all property, real and personal, that constitutes or is

derived from proceeds traceable to the commission of said

offense, including but not limited to a sum of money in United

States currency representing the amount of proceeds traceable to

the commission of said offense that the defendant personally

obtained.

            28.   As a result of committing the offense alleged in

Count Two of this Indictment, ISABELLA POLLOK, the defendant,

shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 981 (a) (1) (C) and Title 28 United States


                                  24
Code, Section 2461(c), any and all property, real and personal,

that constitutes or is derived from proceeds traceable to the

commission of said offense, including but not limited to a sum

of money in United States currency representing the amount of

proceeds traceable to the commission of said offense that the

defendant personally obtained.

      FORFEITURE ALLEGATION AS TO COUNTS FOUR THROUGH EIGHT

          29.   As a result of committing the offenses alleged in

Counts Four, Five, Six, Seven, and Eight of this Indictment,

LAWRENCE RAY, a/k/a "Lawrence Grecco," the defendant, shall

forfeit to the United States, pursuant to Title 18, United

States Code, Section 1594:   (1) any property, real and personal,

that was involved in, used or intended to be used to commit or

to facilitate the commission of the offenses, and any property

traceable to such property; and (2) any property, real and

personal, constituting or derived from, any proceeds obtained,

directly or indirectly, as a result of the offenses, or any

property traceable to such property.

          30.   As a result of committing the offense alleged in

Count Five of this Indictment, ISABELLA POLLOK, the defendant,

shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 1594:   (1) any property, real and personal,

that was involved in, used or intended to be used to commit or


                                 25
to facilitate the commission of the offenses, and any property

traceable to such property; and (2) any property, real and

personal, constituting or derived from, any proceeds obtained,

directly or indirectly, as a result of the offenses, or any

property traceable to such property.

               FORFEITURE ALLEGATION AS TO COUNT ELEVEN

          31.    As a result of committing the offense alleged in

Count Eleven of this Indictment, LAWRENCE RAY, a/k/a "Lawrence

Grecco," and ISABELLA POLLOK, the defendants, shall forfeit to

the United States, pursuant to Title 18, United States Code,

Section 982(a) (1), any and all property, real and personal,

involved in said offense, or any property traceable to such

property, including but not limited to a sum of money in United

States currency representing the amount of property involved in

said offense.

                     Substitute Assets Provision

          32.    If any of the above-described forfeitable

property, as a result of any act or omission of the defendants:

          a.     cannot be located upon the exercise of due

                 diligence;

          b.     has been transferred or sold to, or deposited

                 with, a third person;

          c.     has been placed beyond the jurisdiction of the


                                  26
               Court;

          d.   has been substantially diminished in value; or

          e.   has been commingled with other property which

          cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21,

United States Code, Section 853(p); Title 18, United States

Code, Section 1963(m); and Title 28 United States Code, Section

246l(c), to seek forfeiture of any other property of the

defendants up to the value of the above forfeitable property.

  (Title 18, United States Code, Sections 981, 982, and 1963;
Title 21, United States Code, Section 853; and Title 28, United
                  States Code, Section 2461.)




                                    United States Attorney




                               27
                    Form No . USA-33s-274     (Ed. 9-25-58)



                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


                         UNITED STATES OF AMERICA

                                   - v.   -

                               LAWRENCE RAY,
                       a/k/a "Lawrence Grecco," and
                             ISABELLA POLLOK,

                                Defendants.


                                  SEALED
                          SUPERSEDING INDICTMENT

                               81 20 Cr. 110

(18   u.s.c.   §§   1962, 1951, 1591, 1589, 1590, 1594, 1952, 1956,
                        and 2; 26 U.S.C. § 7201.)

                              AUDREY STRAUSS
                          United States Attorney

                                A TRUE BILL
